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                          UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF OKLAHOMA

CITY OF ELK CITY,                              )
                                               )
        Plaintiff,                             )
                                               )
v.                                             )            Case No. CIV-20-998-G
                                               )
CEPHALON, INC., et al.                         )
                                               )
        Defendants.                            )

                                          ORDER

        Now before the Court is the unopposed Motion for Extension of Time (Doc. No.

16) filed on October 8, 2020. For good cause shown, the Motion is GRANTED, and the

Court orders as follows:

     (1) The answer or response for the Defendants listed below is due no later than forty-

        five (45) days after (i) a decision by the Judicial Panel on Multidistrict Litigation

        granting a motion to vacate a conditional transfer order regarding this action or

        otherwise finally denying transfer of this action; or (ii) this Court’s ruling on any

        motion to remand this action, whichever is later.

        • CVS Health Corporation
        • CVS Pharmacy, Inc.
        • Oklahoma CVS Pharmacy,
          LLC
        • Walgreens Boots Alliance, Inc.
          a/k/a Walgreen Co.
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(2) Each Defendant listed above shall filed a disclosure statement as prescribed by

   Federal Rule of Civil Procedure 7.1 or Local Civil Rule 7.1.1 no later than October

   15, 2020.

(3) Counsel for Defendants listed above shall enter their appearance in accordance with

   Local Civil Rules 17.1 and 83.4 no later than October 15, 2020.

   IT IS SO ORDERED this 8th day of October, 2020.




                                         2
